DocuSign Envelope ID: F45D4E76-7232-4FE9-A685-48985FE5FD29
              Case 22-00197-ELG                    Doc 1         Filed 10/24/22 Entered 10/24/22 21:36:49                              Desc Main
                                                                Document      Page 1 of 52

Fill in this information to identify your case:


United States Bankruptcy Court for the:

DISTRICT OF COLUMBIA

Case number (if known)                                                        Chapter you are filing under:
                                                                                 Chapter 7
                                                                                 Chapter 11
                                                                                 Chapter 12
                                                                                 Chapter 13                                       Check if this is an
                                                                                                                                  amended filing




Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy                                                                                                 06/22
The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a joint
case—and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,” the answer
would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and Debtor 2 to distinguish
between them. In joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The same person must be Debtor 1 in
all of the forms.

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If
more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer
every question.


Part 1:   Identify Yourself

                                   About Debtor 1:                                                 About Debtor 2 (Spouse Only in a Joint Case):

1.   Your full name

     Write the name that is on     Aimee
     your government-issued        First name                                                      First name
     picture identification (for
     example, your driver's        Lewis
     license or passport).         Middle name                                                     Middle name
     Bring your picture
     identification to your
                                   Golub
     meeting with the trustee.     Last name and Suffix (Sr., Jr., II, III)                        Last name and Suffix (Sr., Jr., II, III)




2.   All other names you have
     used in the last 8 years
     Include your married or
     maiden names.



3.   Only the last 4 digits of
     your Social Security
     number or federal             xxx-xx-2556
     Individual Taxpayer
     Identification number
     (ITIN)




Official Form 101                               Voluntary Petition for Individuals Filing for Bankruptcy                                                page 1
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Debtor 1   Aimee Lewis Golub                                                                          Case number (if known)




                                 About Debtor 1:                                               About Debtor 2 (Spouse Only in a Joint Case):

4.   Any business names and
     Employer Identification
     Numbers (EIN) you have
                                       I have not used any business name or EINs.                    I have not used any business name or EINs.
     used in the last 8 years

     Include trade names and     Business name(s)                                              Business name(s)
     doing business as names

                                 EIN                                                           EIN




5.   Where you live                                                                            If Debtor 2 lives at a different address:

                                 155 Drury Lane
                                 Cleveland, OH 44124
                                 Number, Street, City, State & ZIP Code                        Number, Street, City, State & ZIP Code

                                 Cuyahoga
                                 County                                                        County

                                 If your mailing address is different from the one             If Debtor 2's mailing address is different from yours, fill it
                                 above, fill it in here. Note that the court will send any     in here. Note that the court will send any notices to this
                                 notices to you at this mailing address.                       mailing address.



                                 Number, P.O. Box, Street, City, State & ZIP Code              Number, P.O. Box, Street, City, State & ZIP Code




6.   Why you are choosing        Check one:                                                    Check one:
     this district to file for
     bankruptcy                          Over the last 180 days before filing this petition,           Over the last 180 days before filing this petition, I
                                         I have lived in this district longer than in any              have lived in this district longer than in any other
                                         other district.                                               district.

                                         I have another reason.                                        I have another reason.
                                         Explain. (See 28 U.S.C. § 1408.)                              Explain. (See 28 U.S.C. § 1408.)

                                 Washington, D.C. PPB




  Official Form 101                           Voluntary Petition for Individuals Filing for Bankruptcy                                                  page 2
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Debtor 1    Aimee Lewis Golub                                                                            Case number (if known)


Part 2:    Tell the Court About Your Bankruptcy Case

7.   The chapter of the      Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy
     Bankruptcy Code you are (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
     choosing to file under
                                  Chapter 7
                                      Chapter 11
                                      Chapter 12
                                      Chapter 13



8.   How you will pay the fee          I will pay the entire fee when I file my petition. Please check with the clerk’s office in your local court for more details
                                       about how you may pay. Typically, if you are paying the fee yourself, you may pay with cash, cashier’s check, or money
                                       order. If your attorney is submitting your payment on your behalf, your attorney may pay with a credit card or check with
                                       a pre-printed address.
                                       I need to pay the fee in installments. If you choose this option, sign and attach the Application for Individuals to Pay
                                       The Filing Fee in Installments (Official Form 103A).
                                       I request that my fee be waived (You may request this option only if you are filing for Chapter 7. By law, a judge may,
                                       but is not required to, waive your fee, and may do so only if your income is less than 150% of the official poverty line that
                                       applies to your family size and you are unable to pay the fee in installments). If you choose this option, you must fill out
                                       the Application to Have the Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.



9.   Have you filed for              No.
     bankruptcy within the
     last 8 years?                   Yes.
                                            District    District of Columbia          When     9/13/21                 Case number     22-00234-ELG
                                            District                                  When                             Case number
                                            District                                  When                             Case number



10. Are any bankruptcy               No
    cases pending or being
    filed by a spouse who is         Yes.
    not filing this case with
    you, or by a business
    partner, or by an
    affiliate?
                                            Debtor                                                                   Relationship to you
                                            District                                  When                           Case number, if known
                                            Debtor                                                                   Relationship to you
                                            District                                  When                           Case number, if known



11. Do you rent your                 No.     Go to line 12.
    residence?
                                     Yes.    Has your landlord obtained an eviction judgment against you?
                                                       No. Go to line 12.
                                                       Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it as part of
                                                       this bankruptcy petition.




  Official Form 101                         Voluntary Petition for Individuals Filing for Bankruptcy                                                    page 3
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Debtor 1    Aimee Lewis Golub                                                                               Case number (if known)


Part 3:    Report About Any Businesses You Own as a Sole Proprietor

12. Are you a sole proprietor
    of any full- or part-time         No.        Go to Part 4.
    business?
                                      Yes.       Name and location of business
     A sole proprietorship is a
     business you operate as                     Name of business, if any
     an individual, and is not a
     separate legal entity such
     as a corporation,
     partnership, or LLC.
                                                 Number, Street, City, State & ZIP Code
     If you have more than one
     sole proprietorship, use a
     separate sheet and attach
     it to this petition.                        Check the appropriate box to describe your business:
                                                        Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                        Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                        Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                        Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                        None of the above

13. Are you filing under           If you are filing under Chapter 11, the court must know whether you are a small business debtor or a debtor choosing to
    Chapter 11 of the              proceed under Subchapter V so that it can set appropriate deadlines. If you indicate that you are a small business debtor or
    Bankruptcy Code, and           you are choosing to proceed under Subchapter V, you must attach your most recent balance sheet, statement of operations,
    are you a small business       cash-flow statement, and federal income tax return or if any of these documents do not exist, follow the procedure in 11 U.S.C.
    debtor or a debtor as          § 1116(1)(B).
    defined by 11 U.S. C. §             No.       I am not filing under Chapter 11.
    1182(1)?
    For a definition of small                    I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in the Bankruptcy
                                      No.
    business debtor, see 11                      Code.
    U.S.C. § 101(51D).

                                      Yes.       I am filing under Chapter 11, I am a small business debtor according to the definition in the Bankruptcy Code, and
                                                 I do not choose to proceed under Subchapter V of Chapter 11.

                                        Yes.     I am filing under Chapter 11, I am a debtor according to the definition in § 1182(1) of the Bankruptcy Code, and I
                                                 choose to proceed under Subchapter V of Chapter 11.

Part 4:    Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention

14. Do you own or have any            No.
    property that poses or is
    alleged to pose a threat          Yes.
    of imminent and                            What is the hazard?
    identifiable hazard to
    public health or safety?
    Or do you own any
    property that needs                        If immediate attention is
    immediate attention?                       needed, why is it needed?

     For example, do you own
     perishable goods, or
     livestock that must be fed,               Where is the property?
     or a building that needs
     urgent repairs?
                                                                             Number, Street, City, State & Zip Code




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Debtor 1    Aimee Lewis Golub                                                                          Case number (if known)

Part 5:    Explain Your Efforts to Receive a Briefing About Credit Counseling
                                     About Debtor 1:                                               About Debtor 2 (Spouse Only in a Joint Case):
15. Tell the court whether           You must check one:                                           You must check one:
    you have received a                  I received a briefing from an approved credit                 I received a briefing from an approved credit
    briefing about credit                counseling agency within the 180 days before I                counseling agency within the 180 days before I filed
    counseling.                          filed this bankruptcy petition, and I received a              this bankruptcy petition, and I received a certificate of
                                         certificate of completion.                                    completion.
     The law requires that you
     receive a briefing about            Attach a copy of the certificate and the payment              Attach a copy of the certificate and the payment plan, if
     credit counseling before            plan, if any, that you developed with the agency.             any, that you developed with the agency.
     you file for bankruptcy.
     You must truthfully check           I received a briefing from an approved credit                 I received a briefing from an approved credit
     one of the following                counseling agency within the 180 days before I                counseling agency within the 180 days before I filed
     choices. If you cannot do           filed this bankruptcy petition, but I do not have             this bankruptcy petition, but I do not have a
     so, you are not eligible to         a certificate of completion.                                  certificate of completion.
     file.
                                         Within 14 days after you file this bankruptcy                 Within 14 days after you file this bankruptcy petition, you
     If you file anyway, the court       petition, you MUST file a copy of the certificate and         MUST file a copy of the certificate and payment plan, if
     can dismiss your case, you          payment plan, if any.                                         any.
     will lose whatever filing fee
     you paid, and your                  I certify that I asked for credit counseling                  I certify that I asked for credit counseling services
     creditors can begin                 services from an approved agency, but was                     from an approved agency, but was unable to obtain
     collection activities again.        unable to obtain those services during the 7                  those services during the 7 days after I made my
                                         days after I made my request, and exigent                     request, and exigent circumstances merit a 30-day
                                         circumstances merit a 30-day temporary waiver                 temporary waiver of the requirement.
                                         of the requirement.
                                                                                                       To ask for a 30-day temporary waiver of the requirement,
                                         To ask for a 30-day temporary waiver of the                   attach a separate sheet explaining what efforts you made
                                         requirement, attach a separate sheet explaining               to obtain the briefing, why you were unable to obtain it
                                         what efforts you made to obtain the briefing, why             before you filed for bankruptcy, and what exigent
                                         you were unable to obtain it before you filed for             circumstances required you to file this case.
                                         bankruptcy, and what exigent circumstances
                                         required you to file this case.                               Your case may be dismissed if the court is dissatisfied
                                                                                                       with your reasons for not receiving a briefing before you
                                         Your case may be dismissed if the court is                    filed for bankruptcy.
                                         dissatisfied with your reasons for not receiving a
                                         briefing before you filed for bankruptcy.                     If the court is satisfied with your reasons, you must still
                                         If the court is satisfied with your reasons, you must         receive a briefing within 30 days after you file. You must
                                         still receive a briefing within 30 days after you file.       file a certificate from the approved agency, along with a
                                         You must file a certificate from the approved                 copy of the payment plan you developed, if any. If you do
                                         agency, along with a copy of the payment plan you             not do so, your case may be dismissed.
                                         developed, if any. If you do not do so, your case
                                                                                                       Any extension of the 30-day deadline is granted only for
                                         may be dismissed.
                                                                                                       cause and is limited to a maximum of 15 days.
                                         Any extension of the 30-day deadline is granted
                                         only for cause and is limited to a maximum of 15
                                         days.
                                         I am not required to receive a briefing about                 I am not required to receive a briefing about credit
                                         credit counseling because of:                                 counseling because of:

                                               Incapacity.                                                  Incapacity.
                                               I have a mental illness or a mental deficiency               I have a mental illness or a mental deficiency that
                                               that makes me incapable of realizing or                      makes me incapable of realizing or making rational
                                               making rational decisions about finances.                    decisions about finances.

                                               Disability.                                                  Disability.
                                               My physical disability causes me to be                       My physical disability causes me to be unable to
                                               unable to participate in a briefing in person,               participate in a briefing in person, by phone, or
                                               by phone, or through the internet, even after                through the internet, even after I reasonably tried to
                                               I reasonably tried to do so.                                 do so.

                                               Active duty.                                                 Active duty.
                                               I am currently on active military duty in a                  I am currently on active military duty in a military
                                               military combat zone.                                        combat zone.
                                         If you believe you are not required to receive a              If you believe you are not required to receive a briefing
                                         briefing about credit counseling, you must file a             about credit counseling, you must file a motion for waiver
                                         motion for waiver credit counseling with the court.           of credit counseling with the court.




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Debtor 1    Aimee Lewis Golub                                                                             Case number (if known)

Part 6:    Answer These Questions for Reporting Purposes

16. What kind of debts do        16a.      Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an
    you have?                              individual primarily for a personal, family, or household purpose.”
                                               No. Go to line 16b.
                                               Yes. Go to line 17.
                                 16b.      Are your debts primarily business debts? Business debts are debts that you incurred to obtain
                                           money for a business or investment or through the operation of the business or investment.
                                               No. Go to line 16c.
                                               Yes. Go to line 17.
                                 16c.      State the type of debts you owe that are not consumer debts or business debts
                                           Fraud: Romance scam (approx. 56% of liabilities)

17. Are you filing under             No.   I am not filing under Chapter 7. Go to line 18.
    Chapter 7?

     Do you estimate that            Yes. I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and administrative expenses
     after any exempt                     are paid that funds will be available to distribute to unsecured creditors?
     property is excluded and
     administrative expenses                   No
     are paid that funds will
     be available for                          Yes
     distribution to unsecured
     creditors?

18. How many Creditors do            1-49                                            1,000-5,000                                   25,001-50,000
    you estimate that you
                                     50-99                                           5001-10,000                                   50,001-100,000
    owe?
                                     100-199                                         10,001-25,000                                 More than100,000
                                     200-999

19. How much do you                  $0 - $50,000                                    $1,000,001 - $10 million                      $500,000,001 - $1 billion
    estimate your assets to
                                     $50,001 - $100,000                              $10,000,001 - $50 million                     $1,000,000,001 - $10 billion
    be worth?
                                     $100,001 - $500,000                             $50,000,001 - $100 million                    $10,000,000,001 - $50 billion
                                     $500,001 - $1 million                           $100,000,001 - $500 million                   More than $50 billion

20. How much do you                  $0 - $50,000                                    $1,000,001 - $10 million                      $500,000,001 - $1 billion
    estimate your liabilities
                                      $50,001 - $100,000                             $10,000,001 - $50 million                      $1,000,000,001 - $10 billion
    to be?
                                     $100,001 - $500,000                             $50,000,001 - $100 million                     $10,000,000,001 - $50 billion
                                     $500,001 - $1 million                           $100,000,001 - $500 million                    More than $50 billion


Part 7:    Sign Below

For you                          I have examined this petition, and I declare under penalty of perjury that the information provided is true and correct.

                                 If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11,12, or 13 of title 11,
                                 United States Code. I understand the relief available under each chapter, and I choose to proceed under Chapter 7.

                                 If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me fill out this
                                 document, I have obtained and read the notice required by 11 U.S.C. § 342(b).

                                 I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.

                                 I understand making a false statement, concealing property, or obtaining money or property by fraud in connection with a
                                 bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519,
                                 and 3571.

                                 Aimee Lewis Golub                                                 Signature of Debtor 2
                                 Signature of Debtor 1
                                                10/24/2022
                                 Executed on                                                       Executed on
                                                 MM / DD / YYYY                                                    MM / DD / YYYY




  Official Form 101                          Voluntary Petition for Individuals Filing for Bankruptcy                                                      page 6
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Debtor 1   Aimee Lewis Golub                                                                              Case number (if known)




For your attorney, if you are   I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about eligibility to proceed
represented by one              under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief available under each chapter
                                for which the person is eligible. I also certify that I have delivered to the debtor(s) the notice required by 11 U.S.C. §
If you are not represented by   342(b) and, in a case in which § 707(b)(4)(D) applies, certify that I have no knowledge after an inquiry that the information
an attorney, you do not need    in the schedules filed with the petition is incorrect.
to file this page.                                                                                               10/24/2022
                                                                                                   Date
                                Signature of Attorney for Debtor                                                MM / DD / YYYY

                                Mahlon Mowrer (VA128)
                                Printed name

                                The Belmont Firm
                                Firm name

                                1050 Connecticut Avenue
                                Suite 500
                                Washington, DC 20036
                                Number, Street, City, State & ZIP Code

                                Contact phone     (202) 930-4010                             Email address         mahlon@dcbankruptcy.com

                                Bar number & State




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                                                                              Document      Page 8 of 52
     Fill in this information to identify your case:

     Debtor 1                   Aimee Lewis Golub
                                First Name                          Middle Name                          Last Name

     Debtor 2
     (Spouse if, filing)        First Name                          Middle Name                          Last Name


     United States Bankruptcy Court for the:                  DISTRICT OF COLUMBIA

     Case number
     (if known)
                                                                                                                                                                      Check if this is an
                                                                                                                                                                      amended filing



    Official Form 106Sum
    Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                             12/15
    Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
    information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
    your original forms, you must fill out a new Summary and check the box at the top of this page.

     Part 1:        Summarize Your Assets

                                                                                                                                                                     Your assets
                                                                                                                                                                     Value of what you own

     1.     Schedule A/B: Property (Official Form 106A/B)
            1a. Copy line 55, Total real estate, from Schedule A/B................................................................................................   $                      0.00

            1b. Copy line 62, Total personal property, from Schedule A/B.....................................................................................        $             130,772.37

            1c. Copy line 63, Total of all property on Schedule A/B...............................................................................................   $             130,772.37

     Part 2:        Summarize Your Liabilities

                                                                                                                                                                     Your liabilities
                                                                                                                                                                     Amount you owe

     2.     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
            2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D...                                    $              50,559.44

     3.     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
            3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F.................................                          $                      0.00

            3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F............................                            $             220,429.88


                                                                                                                                        Your total liabilities $                270,989.32


     Part 3:        Summarize Your Income and Expenses

     4.     Schedule I: Your Income (Official Form 106I)
            Copy your combined monthly income from line 12 of Schedule I................................................................................             $                4,441.88

     5.     Schedule J: Your Expenses (Official Form 106J)
            Copy your monthly expenses from line 22c of Schedule J..........................................................................                         $                2,236.00

     Part 4:        Answer These Questions for Administrative and Statistical Records

     6.     Are you filing for bankruptcy under Chapters 7, 11, or 13?
                 No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.

               Yes
     7.     What kind of debt do you have?

                    Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal, family, or household
                    purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

                    Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit this form to the
     Official Form 106Sum                    Summary of Your Assets and Liabilities and Certain Statistical Information                                                    page 1 of 2
    Software Copyright (c) 1996-2022 Best Case, LLC - www.bestcase.com                                                                                                     Best Case Bankruptcy
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     Debtor 1      Aimee Lewis Golub                                                          Case number (if known)
                 court with your other schedules.

     8.    From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official Form
           122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                             $             7,886.70


     9.    Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

                                                                                                             Total claim
           From Part 4 on Schedule E/F, copy the following:
           9a. Domestic support obligations (Copy line 6a.)                                                   $                 0.00

           9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                          $                 0.00

           9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                $                 0.00

           9d. Student loans. (Copy line 6f.)                                                                 $            70,454.39

           9e. Obligations arising out of a separation agreement or divorce that you did not report as
               priority claims. (Copy line 6g.)                                                               $                 0.00

           9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)            +$                 0.00


           9g. Total. Add lines 9a through 9f.                                                           $             70,454.39




    Official Form 106Sum                             Summary of Your Assets and Liabilities and Certain Statistical Information                       page 2 of 2
    Software Copyright (c) 1996-2022 Best Case, LLC - www.bestcase.com                                                                          Best Case Bankruptcy
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                                                                         Document      Page 10 of 52
     Fill in this information to identify your case and this filing:

     Debtor 1                Aimee Lewis Golub
                             First Name                         Middle Name                    Last Name

     Debtor 2
     (Spouse, if filing)     First Name                         Middle Name                    Last Name


     United States Bankruptcy Court for the:            DISTRICT OF COLUMBIA

     Case number                                                                                                                                         Check if this is an
                                                                                                                                                         amended filing



    Official Form 106A/B
    Schedule A/B: Property                                                                                                                               12/15
    In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the category where you
    think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
    information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known).
    Answer every question.

     Part 1: Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

    1.    Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

           No. Go to Part 2.
           Yes. Where is the property?



     Part 2: Describe Your Vehicles

    Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles you own that
    someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

    3.    Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

            No
            Yes


    4.    Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
         Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

            No
            Yes



     5 Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for
       .pages you have attached for Part 2. Write that number here.............................................................................=>                 $0.00

     Part 3: Describe Your Personal and          Household Items
     Do you own or have any legal or equitable interest in any of the following items?                                                              Current value of the
                                                                                                                                                    portion you own?
                                                                                                                                                    Do not deduct secured
                                                                                                                                                    claims or exemptions.
    6.    Household goods and furnishings
          Examples: Major appliances, furniture, linens, china, kitchenware
            No
            Yes. Describe.....
                                          1 couch; 2 end tables; 4 lamps; 1 bistro table; 4 chairs; 1 TV stand; 2
                                          floor lamps; 3 table lamps; 1 bed; 2 nightstands; 1 ottoman; 1 chair; 4
                                          rugs; 1 toaster; 1 air fryer; 1 blender; 1 food processer; 1 knife set;
                                          cooking utensils; 8 draw organizers; 5 cutting boards; tupperware                                                        $250.00

                                          Miscellaneous personalty                                                                                                 $100.00




    Official Form 106A/B                                                      Schedule A/B: Property                                                                   page 1
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                Case 22-00197-ELG                         Doc 1           Filed 10/24/22 Entered 10/24/22 21:36:49                       Desc Main
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     Debtor 1       Aimee Lewis Golub                                                                      Case number (if known)

    7.    Electronics
          Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music collections; electronic devices
                    including cell phones, cameras, media players, games
            No
            Yes. Describe.....
                                        iPad Air Gen 5; 2 televisions                                                                                     $511.00

                                        iPhone 12 Pro Max                                                                                                 $453.00

                                        SoulCycle Exercise Bike and miscellaneous accessories                                                           $1,000.00


    8.    Collectibles of value
          Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; stamp, coin, or baseball card collections;
                     other collections, memorabilia, collectibles
            No
            Yes. Describe.....

    9.    Equipment for sports and hobbies
          Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and kayaks; carpentry tools;
                    musical instruments
            No
            Yes. Describe.....

    10.    Firearms
           Examples: Pistols, rifles, shotguns, ammunition, and related equipment
            No
            Yes. Describe.....

    11.    Clothes
           Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
            No
            Yes. Describe.....
                                        12 blazers; 25 assorted tops; 15 pants; 10 pairs of shoes; 3 belts; 10
                                        bathing suits; 3 jumpsuits; 4 dresses; 5 hoodies; 10 leggings; socks and
                                        underwear                                                                                                         $200.00


    12.    Jewelry
           Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold, silver
            No
            Yes. Describe.....
                                        Miscellaneous costume jewelry                                                                                       $25.00


    13.    Non-farm animals
           Examples: Dogs, cats, birds, horses
            No
            Yes. Describe.....

    14.    Any other personal and household items you did not already list, including any health aids you did not list
            No
            Yes. Give specific information.....


     15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
         for Part 3. Write that number here ..............................................................................                          $2,539.00


     Part 4: Describe Your Financial Assets
     Do you own or have any legal or equitable interest in any of the following?                                                         Current value of the
                                                                                                                                         portion you own?
                                                                                                                                         Do not deduct secured
                                                                                                                                         claims or exemptions.

    16.    Cash
           Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
            No
            Yes................................................................................................................


    Official Form 106A/B                                                   Schedule A/B: Property                                                             page 2
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     Debtor 1       Aimee Lewis Golub                                                                           Case number (if known)

    17.   Deposits of money
          Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses, and other similar
                        institutions. If you have multiple accounts with the same institution, list each.
           No
           Yes........................                                     Institution name:


                                          17.1.    Checking                    Chase [Account No. ....5260]                                            $222.03



                                          17.2.    Savings                     Chase [Account No. ...3258]                                           $3,100.18


    18.   Bonds, mutual funds, or publicly traded stocks
          Examples: Bond funds, investment accounts with brokerage firms, money market accounts
           No
           Yes..................        Institution or issuer name:
                                                  Fidelity investment portfolio [Account No. ...7116]                                                      $5.83


    19.   Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in an LLC, partnership,
          and joint venture
           No
           Yes. Give specific information about them...................
                                     Name of entity:                                          % of ownership:
                                     Nine MD LLC                                                    100        %                           $1.00


    20.   Government and corporate bonds and other negotiable and non-negotiable instruments
          Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
          Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
           No
           Yes. Give specific information about them
                                             Issuer name:

    21.   Retirement or pension accounts
          Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
           No
           Yes. List each account separately.
                                    Type of account:                Institution name:
                                          401(k)                               Fidelity [Account No. ...9429]                                    $117,149.95

                                          IRA                                  Fidelity [Account No. ...4706]                                        $4,855.14


    22.   Security deposits and prepayments
          Your share of all unused deposits you have made so that you may continue service or use from a company
          Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or others
           No
           Yes. .....................                               Institution name or individual:

    23.   Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
           No
           Yes.............   Issuer name and description.

    24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
        26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
           No
           Yes.............  Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

    25.   Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable for your benefit
           No
           Yes. Give specific information about them...

    26.   Patents, copyrights, trademarks, trade secrets, and other intellectual property
          Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
           No
           Yes. Give specific information about them...



    Official Form 106A/B                                                   Schedule A/B: Property                                                          page 3
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    27.   Licenses, franchises, and other general intangibles
          Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
           No
           Yes. Give specific information about them...

     Money or property owed to you?                                                                                                                                 Current value of the
                                                                                                                                                                    portion you own?
                                                                                                                                                                    Do not deduct secured
                                                                                                                                                                    claims or exemptions.

    28.    Tax refunds owed to you
            No
            Yes. Give specific information about them, including whether you already filed the returns and the tax years.......



    29.   Family support
          Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
           No
           Yes. Give specific information......


    30.   Other amounts someone owes you
          Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay,                                    workers’ compensation, Social Security
                    benefits; unpaid loans you made to someone else
           No
           Yes. Give specific information..
                                                              Estimated unpaid wages (Oct. 15th - petition date)                                                                  $1,312.01


    31.   Interests in insurance policies
          Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance
           No
           Yes. Name the insurance company of each policy and list its value.
                                        Company name:                                           Beneficiary:                                                          Surrender or refund
                                                                                                                                                                      value:

    32.    Any interest in property that is due you from someone who has died
          If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive property because
          someone has died.
            No
            Yes. Give specific information..


    33.   Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
          Examples: Accidents, employment disputes, insurance claims, or rights to sue
           No
           Yes. Describe each claim.........
                                                              Litigation rights against John and Jane Does 1 - 100 who
                                                              committed fraudulent takings of monies as part of a romance
                                                              scam (valued at approximately 1% of sum wrongfully taken
                                                              reflecting the remote possibility of monetary recovery)                                                             $1,587.23


    34.    Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off claims
            No
            Yes. Describe each claim.........

    35.    Any financial assets you did not already list
            No
            Yes. Give specific information..

     36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
         for Part 4. Write that number here.....................................................................................................................           $128,233.37

     Part 5: Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

    37.   Do you own or have any legal or equitable interest in any business-related property?
           No. Go to Part 6.
           Yes.    Go to line 38.


    Official Form 106A/B                                                           Schedule A/B: Property                                                                               page 4
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     Part 6:    Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
                If you own or have an interest in farmland, list it in Part 1.

    46.    Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
               No. Go to Part 7.
               Yes. Go to line 47.


     Part 7:          Describe All Property You Own or Have an Interest in That You Did Not List Above

    53.   Do you have other property of any kind you did not already list?
          Examples: Season tickets, country club membership
           No
           Yes. Give specific information.........

     54. Add the dollar value of all of your entries from Part 7. Write that number here                                        ....................................              $0.00

     Part 8:        List the Totals of Each Part of this Form

     55. Part 1: Total real estate, line 2 ......................................................................................................................                     $0.00
     56. Part 2: Total vehicles, line 5                                                                             $0.00
     57. Part 3: Total personal and household items, line 15                                                    $2,539.00
     58. Part 4: Total financial assets, line 36                                                              $128,233.37
     59. Part 5: Total business-related property, line 45                                                           $0.00
     60. Part 6: Total farm- and fishing-related property, line 52                                                  $0.00
     61. Part 7: Total other property not listed, line 54                                           +               $0.00

     62. Total personal property. Add lines 56 through 61...                                                  $130,772.37               Copy personal property total          $130,772.37

     63. Total of all property on Schedule A/B. Add line 55 + line 62
                                                                                                                                                                           $130,772.37




    Official Form 106A/B                                                              Schedule A/B: Property                                                                           page 5
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                  Case 22-00197-ELG                       Doc 1           Filed 10/24/22 Entered 10/24/22 21:36:49                            Desc Main
                                                                         Document      Page 15 of 52
     Fill in this information to identify your case:

     Debtor 1                Aimee Lewis Golub
                             First Name                         Middle Name                  Last Name

     Debtor 2
     (Spouse if, filing)     First Name                         Middle Name                  Last Name


     United States Bankruptcy Court for the:             DISTRICT OF COLUMBIA

     Case number
     (if known)                                                                                                                               Check if this is an
                                                                                                                                              amended filing


    Official Form 106C
    Schedule C: The Property You Claim as Exempt
    4/22

    Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using
    the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is
    needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and
    case number (if known).

    For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
    specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of
    any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement
    funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that limits the
    exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption would be limited
    to the applicable statutory amount.

     Part 1:        Identify the Property You Claim as Exempt

     1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.
               You are claiming state and federal nonbankruptcy exemptions.               11 U.S.C. § 522(b)(3)
               You are claiming federal exemptions.            11 U.S.C. § 522(b)(2)

     2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.
          Brief description of the property and line on            Current value of the   Amount of the exemption you claim        Specific laws that allow exemption
          Schedule A/B that lists this property                    portion you own
                                                                   Copy the value from    Check only one box for each exemption.
                                                                   Schedule A/B

          1 couch; 2 end tables; 4 lamps; 1 bistro                            $250.00                                              D.C. Code Ann. § 15-501(a)(2)
          table; 4 chairs; 1 TV stand; 2 floor
          lamps; 3 table lamps; 1 bed; 2                                                       100% of fair market value, up to
          nightstands; 1 ottoman; 1 chair; 4 rugs;                                             any applicable statutory limit
          1 toaster; 1 air fryer; 1 blender; 1 food
          processer; 1 knife set; cooking utensils;
          8 draw organizers; 5 cutting boards;
          tupperware
          Line from Schedule A/B: 6.1

          Miscellaneous personalty                                            $100.00                                              D.C. Code Ann. § 15-501(a)(3)
          Line from Schedule A/B: 6.2
                                                                                               100% of fair market value, up to
                                                                                               any applicable statutory limit

          iPad Air Gen 5; 2 televisions                                       $511.00                                              D.C. Code Ann. § 15-501(a)(3)
          Line from Schedule A/B: 7.1
                                                                                               100% of fair market value, up to
                                                                                               any applicable statutory limit

          iPhone 12 Pro Max                                                   $453.00                                              D.C. Code Ann. § 15-501(a)(3)
          Line from Schedule A/B: 7.2
                                                                                               100% of fair market value, up to
                                                                                               any applicable statutory limit




    Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                     page 1 of 3
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                                                                         Document      Page 16 of 52
     Debtor 1    Aimee Lewis Golub                                                                           Case number (if known)
         Brief description of the property and line on             Current value of the   Amount of the exemption you claim           Specific laws that allow exemption
         Schedule A/B that lists this property                     portion you own
                                                                   Copy the value from    Check only one box for each exemption.
                                                                   Schedule A/B

         SoulCycle Exercise Bike and                                       $1,000.00                                                  D.C. Code Ann. § 15-501(a)(3)
         miscellaneous accessories
         Line from Schedule A/B: 7.2                                                           100% of fair market value, up to
                                                                                               any applicable statutory limit

         12 blazers; 25 assorted tops; 15 pants;                             $200.00                                                  D.C. Code Ann. § 15-501(a)(2)
         10 pairs of shoes; 3 belts; 10 bathing
         suits; 3 jumpsuits; 4 dresses; 5 hoodies;                                             100% of fair market value, up to
         10 leggings; socks and underwear                                                      any applicable statutory limit
         Line from Schedule A/B: 11.1

         Miscellaneous costume jewelry                                        $25.00                                                  D.C. Code Ann. § 15-501(a)(3)
         Line from Schedule A/B: 12.1
                                                                                               100% of fair market value, up to
                                                                                               any applicable statutory limit

         Chase [Account No. ....5260]                                        $222.03                                                  D.C. Code Ann. § 15-501(a)(3)
         Line from Schedule A/B: 17.1
                                                                                               100% of fair market value, up to
                                                                                               any applicable statutory limit

         Chase [Account No. ...3258]                                       $3,100.18                                                  D.C. Code Ann. § 15-501(a)(3)
         Line from Schedule A/B: 17.2
                                                                                               100% of fair market value, up to
                                                                                               any applicable statutory limit

         Fidelity investment portfolio [Account                                 $5.83                                                 D.C. Code Ann. § 15-501(a)(3)
         No. ...7116]
         Line from Schedule A/B: 18.1                                                          100% of fair market value, up to
                                                                                               any applicable statutory limit

         Nine MD LLC                                                            $1.00                                                 D.C. Code Ann. § 15-501(a)(3)
         Line from Schedule A/B: 19.1
                                                                                               100% of fair market value, up to
                                                                                               any applicable statutory limit

         Fidelity [Account No. ...9429]                                  $117,149.95                                                  D.C. Code Ann. § 15-501(a)(9)
         Line from Schedule A/B: 21.1
                                                                                               100% of fair market value, up to
                                                                                               any applicable statutory limit

         Fidelity [Account No. ...4706]                                    $4,855.14                                                  D.C. Code Ann. § 15-501(a)(9)
         Line from Schedule A/B: 21.2
                                                                                               100% of fair market value, up to
                                                                                               any applicable statutory limit

         Estimated unpaid wages (Oct. 15th -                               $1,312.01                                                  D.C. Code Ann. § 15-501(a)(3)
         petition date)
         Line from Schedule A/B: 30.1                                                          100% of fair market value, up to
                                                                                               any applicable statutory limit

         Estimated unpaid wages (Oct. 15th -                               $1,312.01                                                  15 U.S.C. § 1673
         petition date)
         Line from Schedule A/B: 30.1                                                          100% of fair market value, up to
                                                                                               any applicable statutory limit




    Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                        page 2 of 3
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                Case 22-00197-ELG                         Doc 1           Filed 10/24/22 Entered 10/24/22 21:36:49                               Desc Main
                                                                         Document      Page 17 of 52
     Debtor 1    Aimee Lewis Golub                                                                           Case number (if known)
         Brief description of the property and line on             Current value of the   Amount of the exemption you claim           Specific laws that allow exemption
         Schedule A/B that lists this property                     portion you own
                                                                   Copy the value from    Check only one box for each exemption.
                                                                   Schedule A/B

         Litigation rights against John and Jane                           $1,587.23                                                  D.C. Code Ann. § 15-501(a)(3)
         Does 1 - 100 who committed fraudulent
         takings of monies as part of a romance                                                100% of fair market value, up to
         scam (valued at approximately 1% of                                                   any applicable statutory limit
         sum wrongfully taken reflecting the
         remote possibility of monetary recovery)
         Line from Schedule A/B: 33.1


     3. Are you claiming a homestead exemption of more than $189,050?
        (Subject to adjustment on 4/01/25 and every 3 years after that for cases filed on or after the date of adjustment.)
                No
                Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
                       No
                       Yes




    Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                        page 3 of 3
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                                                                         Document      Page 18 of 52
     Fill in this information to identify your case:

     Debtor 1                   Aimee Lewis Golub
                                First Name                      Middle Name                     Last Name

     Debtor 2
     (Spouse if, filing)        First Name                      Middle Name                     Last Name


     United States Bankruptcy Court for the:             DISTRICT OF COLUMBIA

     Case number
     (if known)                                                                                                                                       Check if this is an
                                                                                                                                                      amended filing

    Official Form 106D
    Schedule D: Creditors Who Have Claims Secured by Property                                                                                                         12/15
    Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space is
    needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your name and case number (if
    known).
    1. Do any creditors have claims secured by your property?
               No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
               Yes. Fill in all of the information below.
     Part 1:        List All Secured Claims
                                                                                                                Column A               Column B                Column C
     2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately
     for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2. As   Amount of claim        Value of collateral     Unsecured
     much as possible, list the claims in alphabetical order according to the creditor’s name.                  Do not deduct the      that supports this      portion
                                                                                                                value of collateral.   claim                   If any
     2.1     Cross River Bank                         Describe the property that secures the claim:                   $2,809.57                $1,000.00           $1,809.57
             Creditor's Name                          SoulCycle Exercise Bike and
                                                      miscellaneous accessories

                                                      As of the date you file, the claim is: Check all that
             885 Teaneck Road                         apply.
             Teaneck, NJ 07666                            Contingent
             Number, Street, City, State & Zip Code       Unliquidated
                                                          Disputed
     Who owes the debt? Check one.                    Nature of lien. Check all that apply.
         Debtor 1 only                                    An agreement you made (such as mortgage or secured
         Debtor 2 only                                     car loan)
         Debtor 1 and Debtor 2 only                       Statutory lien (such as tax lien, mechanic's lien)
         At least one of the debtors and another          Judgment lien from a lawsuit
         Check if this claim relates to a                 Other (including a right to offset)
          community debt

     Date debt was incurred                                    Last 4 digits of account number        5690

     2.2     Fidelity Investments                     Describe the property that secures the claim:                 $47,516.59              $117,149.95                     $0.00
             Creditor's Name                          401(k):Fidelity [Account No. ...9429]


                                                      As of the date you file, the claim is: Check all that
             PO Box 770001                            apply.
             Cincinnati, OH 45277                         Contingent
             Number, Street, City, State & Zip Code       Unliquidated
                                                          Disputed
     Who owes the debt? Check one.                    Nature of lien. Check all that apply.
         Debtor 1 only                                    An agreement you made (such as mortgage or secured
         Debtor 2 only                                     car loan)
         Debtor 1 and Debtor 2 only                       Statutory lien (such as tax lien, mechanic's lien)
         At least one of the debtors and another          Judgment lien from a lawsuit
         Check if this claim relates to a                 Other (including a right to offset)
          community debt

     Date debt was incurred                                    Last 4 digits of account number




    Official Form 106D                                Schedule D: Creditors Who Have Claims Secured by Property                                                      page 1 of 2
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                                                                         Document      Page 19 of 52
     Debtor 1 Aimee Lewis Golub                                                                               Case number (if known)
                  First Name                 Middle Name                     Last Name


     2.3   Verizon                                    Describe the property that secures the claim:                      $233.28           $453.00                  $0.00
           Creditor's Name                            iPhone 12 Pro Max


                                                      As of the date you file, the claim is: Check all that
           P.O. Box 489                               apply.
           Newark, NJ 07101                                Contingent
           Number, Street, City, State & Zip Code          Unliquidated
                                                           Disputed
     Who owes the debt? Check one.                    Nature of lien. Check all that apply.
        Debtor 1 only                                      An agreement you made (such as mortgage or secured
        Debtor 2 only                                       car loan)
        Debtor 1 and Debtor 2 only                         Statutory lien (such as tax lien, mechanic's lien)
        At least one of the debtors and another            Judgment lien from a lawsuit
        Check if this claim relates to a                   Other (including a right to offset)  Agreement made by Debtor's sister
         community debt

     Date debt was incurred                                    Last 4 digits of account number        0001


       Add the dollar value of your entries in Column A on this page. Write that number here:                                $50,559.44
       If this is the last page of your form, add the dollar value totals from all pages.
       Write that number here:                                                                                               $50,559.44

     Part 2:    List Others to Be Notified for a Debt That You Already Listed
     Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection agency is
     trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similarly, if you have more
     than one creditor for any of the debts that you listed in Part 1, list the additional creditors here. If you do not have additional persons to be notified for any
     debts in Part 1, do not fill out or submit this page.




    Official Form 106D                    Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                          page 2 of 2
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                   Case 22-00197-ELG                      Doc 1           Filed 10/24/22 Entered 10/24/22 21:36:49                                          Desc Main
                                                                         Document      Page 20 of 52
     Fill in this information to identify your case:

     Debtor 1                  Aimee Lewis Golub
                               First Name                       Middle Name                      Last Name

     Debtor 2
     (Spouse if, filing)       First Name                       Middle Name                      Last Name


     United States Bankruptcy Court for the:             DISTRICT OF COLUMBIA

     Case number
     (if known)                                                                                                                                             Check if this is an
                                                                                                                                                            amended filing

    Official Form 106E/F
    Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                  12/15
    Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the other party to
    any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property (Official Form 106A/B) and on
    Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with partially secured claims that are listed in
    Schedule D: Creditors Who Have Claims Secured by Property. If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the
    left. Attach the Continuation Page to this page. If you have no information to report in a Part, do not file that Part. On the top of any additional pages, write your
    name and case number (if known).
     Part 1:        List All of Your PRIORITY Unsecured Claims
     1.    Do any creditors have priority unsecured claims against you?
             No. Go to Part 2.
             Yes.

     Part 2:        List All of Your NONPRIORITY Unsecured Claims
     3.    Do any creditors have nonpriority unsecured claims against you?
              No. You have nothing to report in this part. Submit this form to the court with your other schedules.
              Yes.

     4.    List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one nonpriority
           unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already included in Part 1. If more
           than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured claims fill out the Continuation Page of Part
           2.
                                                                                                                                                               Total claim

     4.1          American Express                                       Last 4 digits of account number        8733                                                     $32,719.00
                  Nonpriority Creditor's Name
                  P.O. Box 981537                                        When was the debt incurred?            Opened: Sept. 2018
                  El Paso, TX 79998
                  Number Street City State Zip Code                      As of the date you file, the claim is: Check all that apply
                  Who incurred the debt? Check one.
                      Debtor 1 only                                         Contingent
                      Debtor 2 only                                         Unliquidated
                      Debtor 1 and Debtor 2 only                            Disputed
                      At least one of the debtors and another            Type of NONPRIORITY unsecured claim:
                      Check if this claim is for a community                Student loans
                  debt                                                      Obligations arising out of a separation agreement or divorce that you did not
                  Is the claim subject to offset?                        report as priority claims
                      No                                                    Debts to pension or profit-sharing plans, and other similar debts
                     Yes                                                      Other. Specify   Credit card purchases




    Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                                 Page 1 of 7
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                Case 22-00197-ELG                         Doc 1           Filed 10/24/22 Entered 10/24/22 21:36:49                                          Desc Main
                                                                         Document      Page 21 of 52
     Debtor 1 Aimee Lewis Golub                                                                              Case number (if known)

     4.2      Barclays Bank                                              Last 4 digits of account number       5439                                                $16,233.00
              Nonpriority Creditor's Name
              P.O. Box 8803                                              When was the debt incurred?           Opened: Dec. 2015
              Wilmington, DE 19899
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only                                             Contingent
                  Debtor 2 only                                             Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims
                  No                                                        Debts to pension or profit-sharing plans, and other similar debts
                  Yes                                                       Other. Specify   Credit card purchases


     4.3      Cleveland Clinic                                           Last 4 digits of account number       2114                                                     $279.00
              Nonpriority Creditor's Name
              9500 Euclid Avenue                                         When was the debt incurred?
              Cleveland, OH 44195
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only                                             Contingent
                  Debtor 2 only                                             Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims
                  No                                                        Debts to pension or profit-sharing plans, and other similar debts
                  Yes                                                       Other. Specify   Medical debt


     4.4      Comenity Bank                                              Last 4 digits of account number       4634                                                  $2,094.00
              Nonpriority Creditor's Name
              P.O. Box 182789                                            When was the debt incurred?           Date Opened: Apr. 2016
              Columbus, OH 43218
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only                                             Contingent
                  Debtor 2 only                                             Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims
                  No                                                        Debts to pension or profit-sharing plans, and other similar debts
                  Yes                                                       Other. Specify   Credit card purchases




    Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                           Page 2 of 7
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                Case 22-00197-ELG                         Doc 1           Filed 10/24/22 Entered 10/24/22 21:36:49                                          Desc Main
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     Debtor 1 Aimee Lewis Golub                                                                              Case number (if known)

     4.5      Discover Bank                                              Last 4 digits of account number       8897                                                $19,500.00
              Nonpriority Creditor's Name
              Attn: Bankruptcy                                           When was the debt incurred?           Opened: May 2018
              P.O. Box 3025
              New Albany, OH 43054
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only                                             Contingent
                  Debtor 2 only                                             Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims
                  No                                                        Debts to pension or profit-sharing plans, and other similar debts
                  Yes                                                       Other. Specify   Credit card purchases


     4.6      Eye Doctors of Washington                                  Last 4 digits of account number                                                              Unknown
              Nonpriority Creditor's Name
              2 Wisconsin Circle                                         When was the debt incurred?
              Suite 230
              Chevy Chase, MD 20815
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only                                             Contingent
                  Debtor 2 only                                             Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims
                  No                                                        Debts to pension or profit-sharing plans, and other similar debts
                  Yes                                                       Other. Specify   Medical debt


     4.7      Firstmark Services LLC                                     Last 4 digits of account number       8139                                                $62,031.39
              Nonpriority Creditor's Name
              121 South13th Street                                       When was the debt incurred?           Opened: Dec. 2020
              Lincoln, NE 68508
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only                                             Contingent
                  Debtor 2 only                                             Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims
                  No                                                        Debts to pension or profit-sharing plans, and other similar debts
                  Yes                                                       Other. Specify
                                                                                             Student loan




    Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                           Page 3 of 7
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                Case 22-00197-ELG                         Doc 1           Filed 10/24/22 Entered 10/24/22 21:36:49                                          Desc Main
                                                                         Document      Page 23 of 52
     Debtor 1 Aimee Lewis Golub                                                                              Case number (if known)

     4.8      FMR LLC d/b/a Fidelity                                     Last 4 digits of account number                                                              Unknown
              Nonpriority Creditor's Name
              P.O. Box 6376                                              When was the debt incurred?
              Fargo, ND 58125
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only                                             Contingent
                  Debtor 2 only                                             Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims
                  No                                                        Debts to pension or profit-sharing plans, and other similar debts
                  Yes                                                       Other. Specify   Credit card purchases


     4.9      Goldman Sachs Bank                                         Last 4 digits of account number       8626                                                  $2,870.00
              Nonpriority Creditor's Name
              P.O. Box 70379                                             When was the debt incurred?           Opened: Mar. 2021
              Philadelphia, PA 19176
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only                                             Contingent
                  Debtor 2 only                                             Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims
                  No                                                        Debts to pension or profit-sharing plans, and other similar debts
                  Yes                                                       Other. Specify   Credit card purchases


     4.1
     0        Happy Money Inc.                                           Last 4 digits of account number       A5FF                                                $38,175.00
              Nonpriority Creditor's Name
              21515 Hawthorne Boulevard                                  When was the debt incurred?           Opened: June 2021
              Torrance, CA 90503
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only                                             Contingent
                  Debtor 2 only                                             Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims
                  No                                                        Debts to pension or profit-sharing plans, and other similar debts
                  Yes                                                       Other. Specify   Personal loan




    Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                           Page 4 of 7
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     Debtor 1 Aimee Lewis Golub                                                                              Case number (if known)

     4.1
     1        JPMorgan Chase Bank                                        Last 4 digits of account number       7595                                                $18,457.00
              Nonpriority Creditor's Name
              Attn: Bankruptcy                                           When was the debt incurred?           Opened: Aug. 2019
              P.O. Box 15298
              Wilmington, DE 19850
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only                                             Contingent
                  Debtor 2 only                                             Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims
                  No                                                        Debts to pension or profit-sharing plans, and other similar debts
                  Yes                                                       Other. Specify   Credit card purchases


     4.1
     2        Kaiser Permanente                                          Last 4 digits of account number                                                              Unknown
              Nonpriority Creditor's Name
              1950 Franklin Street                                       When was the debt incurred?
              Oakland, CA 94612
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only                                             Contingent
                  Debtor 2 only                                             Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims
                  No                                                        Debts to pension or profit-sharing plans, and other similar debts
                  Yes                                                       Other. Specify   Medical debt


     4.1
     3        Midwest Medical Systems                                    Last 4 digits of account number                                                              Unknown
              Nonpriority Creditor's Name
              655 Congress Park Drive                                    When was the debt incurred?
              Dayton, OH 45459
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only                                             Contingent
                  Debtor 2 only                                             Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims
                  No                                                        Debts to pension or profit-sharing plans, and other similar debts
                  Yes                                                       Other. Specify   Medical debt




    Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                           Page 5 of 7
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     Debtor 1 Aimee Lewis Golub                                                                              Case number (if known)

     4.1
     4        Mill Creek Residential Trust LLC                           Last 4 digits of account number       7213                                                  $9,201.49
              Nonpriority Creditor's Name
              1331 4th Street SE                                         When was the debt incurred?
              Washington, DC 20003
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only                                             Contingent
                  Debtor 2 only                                             Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims
                  No                                                        Debts to pension or profit-sharing plans, and other similar debts
                  Yes                                                       Other. Specify


     4.1
     5        Navient Solutions, LLC                                     Last 4 digits of account number       7292                                                  $8,423.00
              Nonpriority Creditor's Name
              P.O. Box 9655                                              When was the debt incurred?           Opened: Dec. 2020
              Wilkes Barre, PA 18773
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only                                             Contingent
                  Debtor 2 only                                             Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims
                  No                                                        Debts to pension or profit-sharing plans, and other similar debts
                  Yes                                                       Other. Specify
                                                                                             Student loan
     4.1
     6        One Medical NY with Mt. Sinai                              Last 4 digits of account number       5600                                                     $250.00
              Nonpriority Creditor's Name
              P.O. Box 102259                                            When was the debt incurred?
              Pasadena, CA 91189
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only                                             Contingent
                  Debtor 2 only                                             Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims
                  No                                                        Debts to pension or profit-sharing plans, and other similar debts
                  Yes                                                       Other. Specify




    Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                           Page 6 of 7
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     Debtor 1 Aimee Lewis Golub                                                                              Case number (if known)

     4.1
     7         Synchrony Bank                                            Last 4 digits of account number                                                               $10,197.00
               Nonpriority Creditor's Name
               Attn: Bankruptcy Dept.                                    When was the debt incurred?
               P.O. Box 965060
               Orlando, FL 32896
               Number Street City State Zip Code                         As of the date you file, the claim is: Check all that apply
               Who incurred the debt? Check one.
                   Debtor 1 only                                            Contingent
                   Debtor 2 only                                            Unliquidated
                   Debtor 1 and Debtor 2 only                               Disputed
                   At least one of the debtors and another               Type of NONPRIORITY unsecured claim:
                   Check if this claim is for a community                   Student loans
               debt                                                         Obligations arising out of a separation agreement or divorce that you did not
               Is the claim subject to offset?                           report as priority claims
                   No                                                       Debts to pension or profit-sharing plans, and other similar debts
                  Yes                                                        Other. Specify   Credit card purchases

     Part 3:      List Others to Be Notified About a Debt That You Already Listed
    5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, if a collection agency
       is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the collection agency here. Similarly, if you
       have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional creditors here. If you do not have additional persons to be
       notified for any debts in Parts 1 or 2, do not fill out or submit this page.
     Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
     Payoff, Inc.                                                  Line 4.10 of (Check one):                   Part 1: Creditors with Priority Unsecured Claims
                                                                                                               Part 2: Creditors with Nonpriority Unsecured Claims
     Attn: Bankruptcy
     1700 Flight Way
     Tustin, CA 92782
                                                                   Last 4 digits of account number


     Part 4:      Add the Amounts for Each Type of Unsecured Claim
    6.    Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. §159. Add the amounts for each
         type of unsecured claim.

                                                                                                                                   Total Claim
                            6a.   Domestic support obligations                                                 6a.       $                           0.00
     Total claims
     from Part 1            6b.   Taxes and certain other debts you owe the government                         6b.       $                           0.00
                            6c.   Claims for death or personal injury while you were intoxicated               6c.       $                           0.00
                            6d.   Other. Add all other priority unsecured claims. Write that amount here.      6d.       $                           0.00

                            6e.   Total Priority. Add lines 6a through 6d.                                     6e.       $                           0.00

                                                                                                                                   Total Claim
                            6f.   Student loans                                                                6f.       $                    70,454.39
     Total claims
     from Part 2            6g.   Obligations arising out of a separation agreement or divorce that
                                  you did not report as priority claims                                        6g.       $                           0.00
                            6h.   Debts to pension or profit-sharing plans, and other similar debts            6h.       $                           0.00
                            6i.   Other. Add all other nonpriority unsecured claims. Write that amount         6i.
                                  here.                                                                                  $                  149,975.49

                            6j.   Total Nonpriority. Add lines 6f through 6i.                                  6j.       $                  220,429.88




    Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                               Page 7 of 7
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                                                                         Document      Page 27 of 52
     Fill in this information to identify your case:

     Debtor 1                Aimee Lewis Golub
                             First Name                         Middle Name           Last Name

     Debtor 2
     (Spouse if, filing)     First Name                         Middle Name           Last Name


     United States Bankruptcy Court for the:             DISTRICT OF COLUMBIA

     Case number
     (if known)                                                                                                                        Check if this is an
                                                                                                                                       amended filing



    Official Form 106G
    Schedule G: Executory Contracts and Unexpired Leases                                                                                                12/15
    Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
    information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
    additional pages, write your name and case number (if known).

    1.     Do you have any executory contracts or unexpired leases?
             No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
             Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B:Property (Official Form 106 A/B).

    2.     List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
           example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts
           and unexpired leases.


               Person or company with whom you have the contract or lease               State what the contract or lease is for
                             Name, Number, Street, City, State and ZIP Code

         2.1      Cross River Bank                                                         SoulCycle finance plan
                  885 Teaneck Road
                  Teaneck, NJ 07666




    Official Form 106G                               Schedule G: Executory Contracts and Unexpired Leases                                              Page 1 of 1
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                  Case 22-00197-ELG                           Doc 1          Filed 10/24/22 Entered 10/24/22 21:36:49              Desc Main
                                                                            Document      Page 28 of 52
     Fill in this information to identify your case:

     Debtor 1                   Aimee Lewis Golub
                                First Name                            Middle Name        Last Name

     Debtor 2
     (Spouse if, filing)        First Name                            Middle Name        Last Name


     United States Bankruptcy Court for the:                 DISTRICT OF COLUMBIA

     Case number
     (if known)                                                                                                                    Check if this is an
                                                                                                                                   amended filing


    Official Form 106H
    Schedule H: Your Codebtors                                                                                                                     12/15

    Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married
    people are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page,
    fill it out, and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write
    your name and case number (if known). Answer every question.

           1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.

               No
               Yes

           2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
           Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

               No. Go to line 3.
               Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?


       3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person shown
          in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on Schedule D (Official
          Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D, Schedule E/F, or Schedule G to fill
          out Column 2.

                    Column 1: Your codebtor                                                              Column 2: The creditor to whom you owe the debt
                    Name, Number, Street, City, State and ZIP Code                                       Check all schedules that apply:

        3.1                                                                                                 Schedule D, line
                    Name                                                                                    Schedule E/F, line
                                                                                                            Schedule G, line

                    Number             Street
                    City                                      State                       ZIP Code




        3.2                                                                                                 Schedule D, line
                    Name                                                                                    Schedule E/F, line
                                                                                                            Schedule G, line

                    Number             Street
                    City                                      State                       ZIP Code




    Official Form 106H                                                               Schedule H: Your Codebtors                                 Page 1 of 1
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     Fill in this information to identify your case:

     Debtor 1                      Aimee Lewis Golub

     Debtor 2
     (Spouse, if filing)

     United States Bankruptcy Court for the:       DISTRICT OF COLUMBIA

     Case number                                                                                             Check if this is:
     (If known)                                                                                                 An amended filing
                                                                                                                A supplement showing postpetition chapter
                                                                                                                13 income as of the following date:

     Official Form 106I                                                                                         MM / DD/ YYYY
     Schedule I: Your Income                                                                                                                   12/15
    Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
    supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your
    spouse. If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed,
    attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

     Part 1:               Describe Employment

     1.     Fill in your employment
            information.                                                Debtor 1                                   Debtor 2 or non-filing spouse
            If you have more than one job,        Employment status        Employed                                   Employed
            attach a separate page with
            information about additional                                   Not employed                               Not employed
            employers.
                                                  Occupation
            Include part-time, seasonal, or                             Associate Director
            self-employed work.
                                                                        American Israel Public Affairs
            Occupation may include student        Employer's name       Committee
            or homemaker, if it applies.
                                                  Employer's address
                                                                        251 H Street NW
                                                                        Washington, DC 20003

                                                  How long employed there?         16 years

     Part 2:               Give Details About Monthly Income

    Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing spouse
    unless you are separated.

    If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need
    more space, attach a separate sheet to this form.

                                                                                                           For Debtor 1        For Debtor 2 or
                                                                                                                               non-filing spouse

            List monthly gross wages, salary, and commissions (before all payroll
     2.     deductions). If not paid monthly, calculate what the monthly wage would be.          2.    $        7,886.70       $               N/A

     3.     Estimate and list monthly overtime pay.                                              3.   +$             0.00      +$              N/A

     4.     Calculate gross Income. Add line 2 + line 3.                                         4.    $      7,886.70             $        N/A




    Official Form 106I                                                       Schedule I: Your Income                                                  page 1
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     Debtor 1    Aimee Lewis Golub                                                                                                        Case number (if known)



                                                                                                                                              For Debtor 1          For Debtor 2 or
                                                                                                                                                                    non-filing spouse
          Copy line 4 here ...................................................................................................     4.         $      7,886.70       $              N/A

     5.   List all payroll deductions:
          5a.      Tax, Medicare, and Social Security deductions                                                                   5a.        $      2,307.19   $                   N/A
          5b.      Mandatory contributions for retirement plans                                                                    5b.        $          0.00   $                   N/A
          5c.      Voluntary contributions for retirement plans                                                                    5c.        $          0.00   $                   N/A
          5d.      Required repayments of retirement fund loans                                                                    5d.        $        925.76   $                   N/A
          5e.      Insurance                                                                                                       5e.        $        211.87   $                   N/A
          5f.      Domestic support obligations                                                                                    5f.        $          0.00   $                   N/A
          5g.      Union dues                                                                                                      5g.        $          0.00   $                   N/A
          5h.      Other deductions. Specify:                                                                                      5h.+       $          0.00 + $                   N/A
     6.   Add the payroll deductions. Add lines 5a+5b+5c+5d+5e+5f+5g+5h.                                                           6.     $          3,444.82       $               N/A
     7.   Calculate total monthly take-home pay. Subtract line 6 from line 4.                                                      7.     $          4,441.88       $               N/A
     8.   List all other income regularly received:
          8a. Net income from rental property and from operating a business,
                 profession, or farm
                 Attach a statement for each property and business showing gross
                 receipts, ordinary and necessary business expenses, and the total
                 monthly net income.                                                                                               8a.        $              0.00   $               N/A
          8b.      Interest and dividends                                                                                          8b.        $              0.00   $               N/A
          8c.      Family support payments that you, a non-filing spouse, or a dependent
                   regularly receive
                   Include alimony, spousal support, child support, maintenance, divorce
                   settlement, and property settlement.                                                                            8c.        $              0.00   $               N/A
          8d.      Unemployment compensation                                                                                       8d.        $              0.00   $               N/A
          8e.      Social Security                                                                                                 8e.        $              0.00   $               N/A
          8f.      Other government assistance that you regularly receive
                   Include cash assistance and the value (if known) of any non-cash assistance
                   that you receive, such as food stamps (benefits under the Supplemental
                   Nutrition Assistance Program) or housing subsidies.
                   Specify:                                                                                                        8f.  $                    0.00   $               N/A
          8g.      Pension or retirement income                                                                                    8g. $                     0.00   $               N/A
          8h.      Other monthly income. Specify:                                                                                  8h.+ $                    0.00 + $               N/A

     9.   Add all other income. Add lines 8a+8b+8c+8d+8e+8f+8g+8h.                                                                 9.     $                  0.00   $               N/A

     10. Calculate monthly income. Add line 7 + line 9.                                                                          10. $            4,441.88 + $            N/A = $         4,441.88
         Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
     11. State all other regular contributions to the expenses that you list in Schedule J.
         Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and
         other friends or relatives.
         Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
         Specify:                                                                                                                  11. +$                                                     0.00

     12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
         Write that amount on the Summary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it
         applies                                                                                                                                                          12.   $         4,441.88
                                                                                                                                                                                Combined
                                                                                                                                                                                monthly income
     13. Do you expect an increase or decrease within the year after you file this form?
               No.
               Yes. Explain:




    Official Form 106I                                                                                  Schedule I: Your Income                                                            page 2
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      Fill in this information to identify your case:

      Debtor 1                 Aimee Lewis Golub                                                                  Check if this is:
                                                                                                                      An amended filing
      Debtor 2                                                                                                        A supplement showing postpetition chapter 13
      (Spouse, if filing)                                                                                             expenses as of the following date:

      United States Bankruptcy Court for the:   DISTRICT OF COLUMBIA                                                       MM / DD / YYYY

      Case number
      (If known)



      Official Form 106J
      Schedule J: Your Expenses                                                                                                               12/15
      Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
      information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number
      (if known). Answer every question.

      Part 1:   Describe Your Household
      1. Is this a joint case?
                 No. Go to line 2.
                 Yes. Does Debtor 2 live in a separate household?
                            No
                            Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.

      2.    Do you have dependents?               No
            Do not list Debtor 1 and              Yes.   Fill out this information for   Dependent’s relationship to          Dependent’s    Does dependent
            Debtor 2.                                    each dependent..............    Debtor 1 or Debtor 2                 age            live with you?
            Do not state the                                                                                                                      No
            dependents names.                                                                                                                     Yes
                                                                                                                                                  No
                                                                                                                                                  Yes
                                                                                                                                                  No
                                                                                                                                                  Yes
                                                                                                                                                  No
                                                                                                                                                  Yes
      3.    Do your expenses include                     No
            expenses of people other than                Yes
            yourself and your dependents?

      Part 2:    Estimate Your Ongoing Monthly Expenses
      Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
      expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
      applicable date.

      Include expenses paid for with non-cash government assistance if you know the
      value of such assistance and have included it on Schedule I: Your Income
      (Official Form 106I.)                                                                                                       Your expenses

      4.    The rental or home ownership expenses for your residence. Include first mortgage
            payments and any rent for the ground or lot.                                                          4. $                            200.00

            If not included in line 4:

            4a. Real estate taxes                                                                               4a.    $                                0.00
            4b. Property, homeowner’s, or renter’s insurance                                                    4b.    $                                0.00
            4c. Home maintenance, repair, and upkeep expenses                                                   4c.    $                                0.00
            4d. Homeowner’s association or condominium dues                                                     4d.    $                                0.00
      5.    Additional mortgage payments for your residence, such as home equity loans                           5.    $                                0.00

      6.    Utilities:
            6a. Electricity, heat, natural gas                                                                  6a.    $                             0.00
            6b. Water, sewer, garbage collection                                                                6b.    $                             0.00
            6c. Telephone, cell phone, Internet, satellite, and cable services                                  6c.    $                            76.00
            6d. Other. Specify:                                                                                 6d.    $                             0.00

      Official Form 106J                                                   Schedule J: Your Expenses                                                           page 1
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      Debtor 1     Aimee Lewis Golub                                                                         Case number (if known)

      7.    Food and housekeeping supplies                                                           7. $                                               725.00
      8.    Childcare and children’s education costs                                                 8. $                                                 0.00
      9.    Clothing, laundry, and dry cleaning                                                      9. $                                                30.00
      10.   Personal care products and services                                                    10. $                                                200.00
      11.   Medical and dental expenses                                                            11. $                                                150.00
      12.   Transportation. Include gas, maintenance, bus or train fare.
            Do not include car payments.                                                           12. $                                                150.00
      13.   Entertainment, clubs, recreation, newspapers, magazines, and books                     13. $                                                650.00
      14.   Charitable contributions and religious donations                                       14. $                                                  0.00
      15.   Insurance.
            Do not include insurance deducted from your pay or included in lines 4 or 20.
            15a. Life insurance                                                                  15a. $                                                    0.00
            15b. Health insurance                                                                15b. $                                                   55.00
            15c. Vehicle insurance                                                               15c. $                                                    0.00
            15d. Other insurance. Specify:                                                       15d. $                                                    0.00
      16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
            Specify:                                                                               16. $                                                    0.00
      17.   Installment or lease payments:
            17a. Car payments for Vehicle 1                                                      17a. $                                                     0.00
            17b. Car payments for Vehicle 2                                                      17b. $                                                     0.00
            17c. Other. Specify:                                                                 17c. $                                                     0.00
            17d. Other. Specify:                                                                 17d. $                                                     0.00
      18.   Your payments of alimony, maintenance, and support that you did not report as
            deducted from your pay on line 5, Schedule I, Your Income (Official Form 106I).        18. $                                                    0.00
      19.   Other payments you make to support others who do not live with you.                         $                                                   0.00
            Specify:                                                                               19.
      20.   Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.
            20a. Mortgages on other property                                                     20a. $                                                     0.00
            20b. Real estate taxes                                                               20b. $                                                     0.00
            20c. Property, homeowner’s, or renter’s insurance                                    20c. $                                                     0.00
            20d. Maintenance, repair, and upkeep expenses                                        20d. $                                                     0.00
            20e. Homeowner’s association or condominium dues                                     20e. $                                                     0.00
      21.   Other: Specify:                                                                        21. +$                                                   0.00
      22. Calculate your monthly expenses
          22a. Add lines 4 through 21.                                                                                     $                       2,236.00
          22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                             $
            22c. Add line 22a and 22b. The result is your monthly expenses.                                                $                       2,236.00
      23. Calculate your monthly net income.
          23a. Copy line 12 (your combined monthly income) from Schedule I.                                      23a. $                               4,441.88
          23b. Copy your monthly expenses from line 22c above.                                                   23b. -$                              2,236.00

            23c. Subtract your monthly expenses from your monthly income.
                 The result is your monthly net income.                                                          23c. $                               2,205.88

      24. Do you expect an increase or decrease in your expenses within the year after you file this form?
            For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage payment to increase or decrease because of a
            modification to the terms of your mortgage?
               No.
               Yes.             Explain here:




      Official Form 106J                                                 Schedule J: Your Expenses                                                                      page 2
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     Fill in this information to identify your case:

     Debtor 1                    Aimee Lewis Golub
                                 First Name                     Middle Name             Last Name

     Debtor 2
     (Spouse if, filing)         First Name                     Middle Name             Last Name


     United States Bankruptcy Court for the:             DISTRICT OF COLUMBIA

     Case number
     (if known)                                                                                                                           Check if this is an
                                                                                                                                          amended filing



    Official Form 106Dec
    Declaration About an Individual Debtor's Schedules                                                                                                          12/15

    If two married people are filing together, both are equally responsible for supplying correct information.

    You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
    obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
    years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                           Sign Below


            Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

                    No
                    Yes.      Name of person                                                                        Attach Bankruptcy Petition Preparer’s Notice,
                                                                                                                    Declaration, and Signature (Official Form 119)


           Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
           that they are true and correct.

            X                                                                           X
                  Aimee Lewis Golub                                                         Signature of Debtor 2
                  Signature of Debtor 1
                             10/24/2022
                  Date                                                                      Date




    Official Form 106Dec                                       Declaration About an Individual Debtor's Schedules
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     Fill in this information to identify your case:

     Debtor 1                 Aimee Lewis Golub
                              First Name                        Middle Name                  Last Name

     Debtor 2
     (Spouse if, filing)      First Name                        Middle Name                  Last Name


     United States Bankruptcy Court for the:             DISTRICT OF COLUMBIA

     Case number
     (if known)                                                                                                                   Check if this is an
                                                                                                                                  amended filing



    Official Form 107
    Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                04/22
    Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
    information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
    number (if known). Answer every question.

     Part 1:        Give Details About Your Marital Status and Where You Lived Before

    1.     What is your current marital status?

                   Married
                   Not married

    2.     During the last 3 years, have you lived anywhere other than where you live now?

                   No
                   Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

            Debtor 1:                                               Dates Debtor 1              Debtor 2 Prior Address:               Dates Debtor 2
                                                                    lived there                                                       lived there
            1221 Massachusetts Avenue NW                            From-To:                       Same as Debtor 1                      Same as Debtor 1
                                                                    Oct. 2019 - May                                                   From-To:
            Apt. 610
            Washington, DC 20005                                    2020


            7 Bardon Street                                         From-To:                       Same as Debtor 1                      Same as Debtor 1
                                                                    May 2020 - June                                                   From-To:
            Madison, NJ 07940
                                                                    2021

            4th Street SE                                           From-To:                       Same as Debtor 1                      Same as Debtor 1
                                                                    June 2021 - Sept.                                                 From-To:
            Apt. 635
            Washington, DC 20003                                    2021


            155 Drury Lane                                          From-To:                       Same as Debtor 1                      Same as Debtor 1
                                                                    Sept. 2021 -                                                      From-To:
            Cleveland, OH 44124
                                                                    Present

    3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property
    states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington and Wisconsin.)

                   No
                   Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).




    Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                         page 1

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     Debtor 1      Aimee Lewis Golub                                                                           Case number (if known)



     Part 2       Explain the Sources of Your Income

    4.    Did you have any income from employment or from operating a business during this year or the two previous calendar years?
          Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
          If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

                No
                Yes. Fill in the details.

                                                       Debtor 1                                                        Debtor 2
                                                       Sources of income                Gross income                   Sources of income           Gross income
                                                       Check all that apply.            (before deductions and         Check all that apply.       (before deductions
                                                                                        exclusions)                                                and exclusions)

     From January 1 of current year until                 Wages, commissions,                       $70,812.70            Wages, commissions,
     the date you filed for bankruptcy:                bonuses, tips                                                   bonuses, tips
                                                           Operating a business                                           Operating a business

     For last calendar year:                              Wages, commissions,                      $111,477.00            Wages, commissions,
     (January 1 to December 31, 2021 )                 bonuses, tips                                                   bonuses, tips
                                                           Operating a business                                           Operating a business

     For the calendar year before that:                   Wages, commissions,                      $105,442.00            Wages, commissions,
     (January 1 to December 31, 2020 )                 bonuses, tips                                                   bonuses, tips
                                                           Operating a business                                           Operating a business


    5.    Did you receive any other income during this year or the two previous calendar years?
          Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security, unemployment,
          and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and gambling and lottery
          winnings. If you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

          List each source and the gross income from each source separately. Do not include income that you listed in line 4.

                No
                Yes. Fill in the details.

                                                       Debtor 1                                                        Debtor 2
                                                       Sources of income                Gross income from              Sources of income           Gross income
                                                       Describe below.                  each source                    Describe below.             (before deductions
                                                                                        (before deductions and                                     and exclusions)
                                                                                        exclusions)

     Part 3:      List Certain Payments You Made Before You Filed for Bankruptcy

    6.    Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?
               No. Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an
                     individual primarily for a personal, family, or household purpose.”

                        During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $7,575* or more?
                             No.       Go to line 7.
                             Yes     List below each creditor to whom you paid a total of $7,575* or more in one or more payments and the total amount you
                                     paid that creditor. Do not include payments for domestic support obligations, such as child support and alimony. Also, do
                                     not include payments to an attorney for this bankruptcy case.
                         * Subject to adjustment on 4/01/25 and every 3 years after that for cases filed on or after the date of adjustment.
                Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
                     During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

                             No.       Go to line 7.
                             Yes       List below each creditor to whom you paid a total of $600 or more and the total amount you paid that creditor. Do not
                                       include payments for domestic support obligations, such as child support and alimony. Also, do not include payments to an
                                       attorney for this bankruptcy case.




    Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                    page 2

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     Debtor 1      Aimee Lewis Golub                                                                           Case number (if known)



           Creditor's Name and Address                              Dates of payment             Total amount          Amount you        Was this payment for ...
                                                                                                         paid            still owe

    7.    Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
          Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner;
          corporations of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing agent,
          including one for a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations, such as child
          support and alimony.

                No
                Yes. List all payments to an insider.
           Insider's Name and Address                               Dates of payment             Total amount          Amount you        Reason for this payment
                                                                                                         paid            still owe

    8.    Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited an
          insider?
          Include payments on debts guaranteed or cosigned by an insider.

                No
                Yes. List all payments to an insider
           Insider's Name and Address                               Dates of payment             Total amount          Amount you        Reason for this payment
                                                                                                         paid            still owe       Include creditor's name

     Part 4:      Identify Legal Actions, Repossessions, and Foreclosures

    9.    Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
          List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody
          modifications, and contract disputes.

                No
                Yes. Fill in the details.
           Case title                                               Nature of the case          Court or agency                          Status of the case
           Case number
           In re Golub                                              Bankruptcy                  United States Bankruptcy                     Pending
           22-00234-ELG                                                                         Court for the District of                    On appeal
                                                                                                Columbia                                     Concluded
                                                                                                333 Constitution Avenue NW
                                                                                                Room 1225
                                                                                                Washington, DC 20001


    10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
        Check all that apply and fill in the details below.

                No. Go to line 11.
                Yes. Fill in the information below.
           Creditor Name and Address                                Describe the Property                                         Date                        Value of the
                                                                                                                                                                 property
                                                                    Explain what happened

    11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
        accounts or refuse to make a payment because you owed a debt?
            No
            Yes. Fill in the details.
           Creditor Name and Address                                Describe the action the creditor took                         Date action was                 Amount
                                                                                                                                  taken

    12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of creditors, a
        court-appointed receiver, a custodian, or another official?
                No
                Yes




    Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                       page 3

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     Debtor 1      Aimee Lewis Golub                                                                           Case number (if known)



     Part 5:      List Certain Gifts and Contributions

    13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?
            No
            Yes. Fill in the details for each gift.
           Gifts with a total value of more than $600                     Describe the gifts                                      Dates you gave                    Value
           per person                                                                                                             the gifts

           Person to Whom You Gave the Gift and
           Address:

    14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?
            No
            Yes. Fill in the details for each gift or contribution.
           Gifts or contributions to charities that total                 Describe what you contributed                           Dates you                         Value
           more than $600                                                                                                         contributed
           Charity's Name
           Address (Number, Street, City, State and ZIP Code)

     Part 6:      List Certain Losses

    15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other
        disaster, or gambling?

                No
                Yes.    Fill in the details.
           Describe the property you lost and                   Describe any insurance coverage for the loss                      Date of your         Value of property
           how the loss occurred                                Include the amount that insurance has paid. List pending          loss                              lost
                                                                insurance claims on line 33 of Schedule A/B: Property.
           Romance scam (estimated loss:                        No insurance coverage for loss                                    2021                         Unknown
           $158,723)


     Part 7:      List Certain Payments or Transfers

    16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you
        consulted about seeking bankruptcy or preparing a bankruptcy petition?
        Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

                No
                Yes. Fill in the details.
           Person Who Was Paid                                            Description and value of any property                   Date payment                Amount of
           Address                                                        transferred                                             or transfer was              payment
           Email or website address                                                                                               made
           Person Who Made the Payment, if Not You

    17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
        promised to help you deal with your creditors or to make payments to your creditors?
        Do not include any payment or transfer that you listed on line 16.

                No
                Yes. Fill in the details.
           Person Who Was Paid                                            Description and value of any property                   Date payment                Amount of
           Address                                                        transferred                                             or transfer was              payment
                                                                                                                                  made

    18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
        transferred in the ordinary course of your business or financial affairs?
        Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property). Do not
        include gifts and transfers that you have already listed on this statement.
             No
             Yes. Fill in the details.
           Person Who Received Transfer                                   Description and value of                  Describe any property or          Date transfer was
           Address                                                        property transferred                      payments received or debts        made
                                                                                                                    paid in exchange
           Person's relationship to you

    19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you are a
    Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                      page 4

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          beneficiary? (These are often called asset-protection devices.)
              No
              Yes. Fill in the details.
           Name of trust                                                  Description and value of the property transferred                         Date Transfer was
                                                                                                                                                    made

     Part 8:       List of Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units

    20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit, closed,
        sold, moved, or transferred?
        Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage
        houses, pension funds, cooperatives, associations, and other financial institutions.
             No
             Yes. Fill in the details.
           Name of Financial Institution and                        Last 4 digits of               Type of account or       Date account was             Last balance
           Address (Number, Street, City, State and ZIP             account number                 instrument               closed, sold,            before closing or
           Code)                                                                                                            moved, or                         transfer
                                                                                                                            transferred

    21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for securities,
        cash, or other valuables?

                No
                Yes. Fill in the details.
           Name of Financial Institution                                  Who else had access to it?             Describe the contents                Do you still
           Address (Number, Street, City, State and ZIP Code)             Address (Number, Street, City,                                              have it?
                                                                          State and ZIP Code)

    22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?

                No
                Yes. Fill in the details.
           Name of Storage Facility                                       Who else has or had access             Describe the contents                Do you still
           Address (Number, Street, City, State and ZIP Code)             to it?                                                                      have it?
                                                                          Address (Number, Street, City,
                                                                          State and ZIP Code)

           Town and Country Movers                                        Only the Debtor                        Household furnishings identified        No
           7650 Rickenbacker Drive                                                                               on Schedule A/B                         Yes
           Gaithersburg, MD 20879


     Part 9:       Identify Property You Hold or Control for Someone Else

    23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for, or hold in trust
        for someone.

                No
                Yes.    Fill in the details.
           Owner's Name                                                   Where is the property?                 Describe the property                            Value
           Address (Number, Street, City, State and ZIP Code)             (Number, Street, City, State and ZIP
                                                                          Code)

     Part 10:      Give Details About Environmental Information

    For the purpose of Part 10, the following definitions apply:

          Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of hazardous or
          toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium, including statutes or
          regulations controlling the cleanup of these substances, wastes, or material.
          Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize it or used
          to own, operate, or utilize it, including disposal sites.
          Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic substance,
          hazardous material, pollutant, contaminant, or similar term.

    Report all notices, releases, and proceedings that you know about, regardless of when they occurred.




    Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                    page 5

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    24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

                No
                Yes. Fill in the details.
           Name of site                                                   Governmental unit                             Environmental law, if you         Date of notice
           Address (Number, Street, City, State and ZIP Code)             Address (Number, Street, City, State and      know it
                                                                          ZIP Code)

    25. Have you notified any governmental unit of any release of hazardous material?

                No
                Yes. Fill in the details.
           Name of site                                                   Governmental unit                             Environmental law, if you         Date of notice
           Address (Number, Street, City, State and ZIP Code)             Address (Number, Street, City, State and      know it
                                                                          ZIP Code)

    26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

                No
                Yes. Fill in the details.
           Case Title                                                     Court or agency                            Nature of the case                   Status of the
           Case Number                                                    Name                                                                            case
                                                                          Address (Number, Street, City,
                                                                          State and ZIP Code)

     Part 11:     Give Details About Your Business or Connections to Any Business

    27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
                    A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
                    A member of a limited liability company (LLC) or limited liability partnership (LLP)
                    A partner in a partnership
                    An officer, director, or managing executive of a corporation
                    An owner of at least 5% of the voting or equity securities of a corporation
                No. None of the above applies. Go to Part 12.
                Yes. Check all that apply above and fill in the details below for each business.
           Business Name                                            Describe the nature of the business                   Employer Identification number
           Address                                                                                                        Do not include Social Security number or ITIN.
           (Number, Street, City, State and ZIP Code)               Name of accountant or bookkeeper
                                                                                                                          Dates business existed
           Nine MD LLC                                              N/A, inactive LLC                                     EIN:       0450625275
           301 Route 17 North
           Suite 800 # 12-40                                        Aimee Golub                                           From-To    Mar. 24, 2021 to Present
           Rutherford, NJ 07070


    28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
        institutions, creditors, or other parties.

                No
                Yes. Fill in the details below.
           Name                                                     Date Issued
           Address
           (Number, Street, City, State and ZIP Code)




    Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                         page 6

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     Part 12:     Sign Below

    I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the answers
    are true and correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud in connection
    with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
    18 U.S.C. §§ 152, 1341, 1519, and 3571.


     Aimee Lewis Golub                                                       Signature of Debtor 2
     Signature of Debtor 1
             10/24/2022
     Date                                                                    Date

    Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?
       No
       Yes

    Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
       No
       Yes. Name of Person        . Attach the Bankruptcy Petition Preparer's Notice, Declaration, and Signature (Official Form 119).




    Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                          page 7

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     Fill in this information to identify your case:

     Debtor 1                  Aimee Lewis Golub
                               First Name                       Middle Name              Last Name

     Debtor 2
     (Spouse if, filing)       First Name                       Middle Name              Last Name


     United States Bankruptcy Court for the:             DISTRICT OF COLUMBIA

     Case number
     (if known)                                                                                                              Check if this is an
                                                                                                                             amended filing



    Official Form 108
    Statement of Intention for Individuals Filing Under Chapter 7                                                                            12/15


    If you are an individual filing under chapter 7, you must fill out this form if:
        creditors have claims secured by your property, or
        you have leased personal property and the lease has not expired.
    You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
               whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list
               on the form

    If two married people are filing together in a joint case, both are equally responsible for supplying correct information. Both debtors must
             sign and date the form.

    Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
            write your name and case number (if known).

     Part 1:        List Your Creditors Who Have Secured Claims

    1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D), fill in the
       information below.
        Identify the creditor and the property that is collateral  What do you intend to do with the property that   Did you claim the property
                                                                   secures a debt?                                   as exempt on Schedule C?



        Creditor's         Cross River Bank                                     Surrender the property.                     No
        name:                                                                    Retain the property and redeem it.
                                                                                Retain the property and enter into a        Yes
        Description of        SoulCycle Exercise Bike and                       Reaffirmation Agreement.
        property              miscellaneous accessories                         Retain the property and [explain]:
        securing debt:



        Creditor's         Fidelity Investments                                 Surrender the property.                     No
        name:                                                                    Retain the property and redeem it.
                                                                                Retain the property and enter into a        Yes
        Description of        Fidelity [Account No. ...9429]                    Reaffirmation Agreement.
        property                                                                Retain the property and [explain]:
        securing debt:



        Creditor's         Verizon                                              Surrender the property.                     No
        name:                                                                    Retain the property and redeem it.
                                                                                Retain the property and enter into a        Yes
        Description of        iPhone 12 Pro Max                                 Reaffirmation Agreement.
        property                                                                Retain the property and [explain]:
        securing debt:                                                          Continue paying (cannot reaffirm, not
                                                                              formally a party to co

     Part 2:        List Your Unexpired Personal Property Leases


    Official Form 108                                       Statement of Intention for Individuals Filing Under Chapter 7                          page 1

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     Debtor 1      Aimee Lewis Golub                                                                     Case number (if known)

    For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G), fill
    in the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet ended.
    You may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

     Describe your unexpired personal property leases                                                                             Will the lease be assumed?

     Lessor's name:               Cross River Bank                                                                                    No

                                                                                                                                      Yes


     Description of leased        SoulCycle finance plan
     Property:



     Part 3:      Sign Below

    Under penalty of perjury, I declare that I have indicated my intention about any property of my estate that secures a debt and any personal
    property that is subject to an unexpired lease.

     X                                                                                  X
           Aimee Lewis Golub                                                                Signature of Debtor 2
           Signature of Debtor 1

                     10/24/2022
           Date                                                                         Date




    Official Form 108                                       Statement of Intention for Individuals Filing Under Chapter 7                                     page 2

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    Notice Required by 11 U.S.C. § 342(b) for
    Individuals Filing for Bankruptcy (Form 2010)


                                                                                              Chapter 7:            Liquidation
     This notice is for you if:
                                                                                                      $245      filing fee
            You are an individual filing for bankruptcy,
            and                                                                                        $78      administrative fee

            Your debts are primarily consumer debts.                                          +        $15      trustee surcharge
            Consumer debts are defined in 11 U.S.C.
            § 101(8) as “incurred by an individual                                                    $338      total fee
            primarily for a personal, family, or
            household purpose.”                                                               Chapter 7 is for individuals who have financial
                                                                                              difficulty preventing them from paying their debts
                                                                                              and who are willing to allow their non-exempt
     The types of bankruptcy that are available to                                            property to be used to pay their creditors. The
     individuals                                                                              primary purpose of filing under chapter 7 is to have
                                                                                              your debts discharged. The bankruptcy discharge
     Individuals who meet the qualifications may file under                                   relieves you after bankruptcy from having to pay
     one of four different chapters of Bankruptcy Code:                                       many of your pre-bankruptcy debts. Exceptions exist
                                                                                              for particular debts, and liens on property may still
            Chapter 7 - Liquidation                                                           be enforced after discharge. For example, a creditor
                                                                                              may have the right to foreclose a home mortgage or
            Chapter 11 - Reorganization                                                       repossess an automobile.

            Chapter 12 - Voluntary repayment plan                                             However, if the court finds that you have committed
                        for family farmers or                                                 certain kinds of improper conduct described in the
                        fishermen                                                             Bankruptcy Code, the court may deny your
                                                                                              discharge.
            Chapter 13 - Voluntary repayment plan
                        for individuals with regular                                          You should know that even if you file chapter 7 and
                        income                                                                you receive a discharge, some debts are not
                                                                                              discharged under the law. Therefore, you may still
                                                                                              be responsible to pay:
     You should have an attorney review your
     decision to file for bankruptcy and the choice of                                            most taxes;
     chapter.
                                                                                                  most student loans;

                                                                                                  domestic support and property settlement
                                                                                                  obligations;




    Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                       page 1

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            most fines, penalties, forfeitures, and criminal                                  your income is more than the median income for your
            restitution obligations; and                                                      state of residence and family size, depending on the
                                                                                              results of the Means Test, the U.S. trustee, bankruptcy
            certain debts that are not listed in your bankruptcy                              administrator, or creditors can file a motion to dismiss
            papers.                                                                           your case under § 707(b) of the Bankruptcy Code. If a
                                                                                              motion is filed, the court will decide if your case should
     You may also be required to pay debts arising from:                                      be dismissed. To avoid dismissal, you may choose to
                                                                                              proceed under another chapter of the Bankruptcy
            fraud or theft;                                                                   Code.

            fraud or defalcation while acting in breach of                                    If you are an individual filing for chapter 7 bankruptcy,
            fiduciary capacity;                                                               the trustee may sell your property to pay your debts,
                                                                                              subject to your right to exempt the property or a portion
            intentional injuries that you inflicted; and                                      of the proceeds from the sale of the property. The
                                                                                              property, and the proceeds from property that your
            death or personal injury caused by operating a                                    bankruptcy trustee sells or liquidates that you are
            motor vehicle, vessel, or aircraft while intoxicated                              entitled to, is called exempt property. Exemptions may
            from alcohol or drugs.                                                            enable you to keep your home, a car, clothing, and
                                                                                              household items or to receive some of the proceeds if
     If your debts are primarily consumer debts, the court                                    the property is sold.
     can dismiss your chapter 7 case if it finds that you have
     enough income to repay creditors a certain amount.                                       Exemptions are not automatic. To exempt property,
     You must file Chapter 7 Statement of Your Current                                        you must list it on Schedule C: The Property You Claim
     Monthly Income (Official Form 122A–1) if you are an                                      as Exempt (Official Form 106C). If you do not list the
     individual filing for bankruptcy under chapter 7. This                                   property, the trustee may sell it and pay all of the
     form will determine your current monthly income and                                      proceeds to your creditors.
     compare whether your income is more than the median
     income that applies in your state.

     If your income is not above the median for your state,
     you will not have to complete the other chapter 7 form,                                  Chapter 11: Reorganization
     the Chapter 7 Means Test Calculation (Official Form
     122A–2).
                                                                                                          $1,167       filing fee
     If your income is above the median for your state, you
     must file a second form —the Chapter 7 Means Test                                           +           $571      administrative fee
     Calculation (Official Form 122A–2). The calculations on
                                                                                                          $1,738       total fee
     the form— sometimes called the Means Test—deduct
     from your income living expenses and payments on
                                                                                              Chapter 11 is often used for reorganizing a business,
     certain debts to determine any amount available to pay
                                                                                              but is also available to individuals. The provisions of
     unsecured creditors. If
                                                                                              chapter 11 are too complicated to summarize briefly.




    Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                             page 2

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            Read These Important Warnings

                 Because bankruptcy can have serious long-term financial and legal consequences, including loss of
                 your property, you should hire an attorney and carefully consider all of your options before you file.
                 Only an attorney can give you legal advice about what can happen as a result of filing for bankruptcy
                 and what your options are. If you do file for bankruptcy, an attorney can help you fill out the forms
                 properly and protect you, your family, your home, and your possessions.

                 Although the law allows you to represent yourself in bankruptcy court, you should understand that
                 many people find it difficult to represent themselves successfully. The rules are technical, and a mistake
                 or inaction may harm you. If you file without an attorney, you are still responsible for knowing and
                 following all of the legal requirements.

                 You should not file for bankruptcy if you are not eligible to file or if you do not intend to file the
                 necessary documents.

                 Bankruptcy fraud is a serious crime; you could be fined and imprisoned if you commit fraud in your
                 bankruptcy case. Making a false statement, concealing property, or obtaining money or property by
                 fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to
                 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                                                                                              Under chapter 13, you must file with the court a plan
     Chapter 12: Repayment plan for family                                                    to repay your creditors all or part of the money that
                 farmers or fishermen                                                         you owe them, usually using your future earnings. If
                                                                                              the court approves your plan, the court will allow you
                                                                                              to repay your debts, as adjusted by the plan, within 3
                       $200          filing fee                                               years or 5 years, depending on your income and other
     +                  $78          administrative fee                                       factors.
                       $278          total fee
                                                                                              After you make all the payments under your plan,
     Similar to chapter 13, chapter 12 permits family farmers                                 many of your debts are discharged. The debts that are
     and fishermen to repay their debts over a period of time                                 not discharged and that you may still be responsible to
     using future earnings and to discharge some debts that                                   pay include:
     are not paid.
                                                                                                     domestic support obligations,

                                                                                                     most student loans,
     Chapter 13: Repayment plan for
                 individuals with regular                                                            certain taxes,
                 income
                                                                                                     debts for fraud or theft,

                       $235          filing fee                                                      debts for fraud or defalcation while acting in a
     +                  $78          administrative fee                                              fiduciary capacity,
                       $313          total fee
                                                                                                     most criminal fines and restitution obligations,
     Chapter 13 is for individuals who have regular income
     and would like to pay all or part of their debts in                                             certain debts that are not listed in your
     installments over a period of time and to discharge                                             bankruptcy papers,
     some debts that are not paid. You are eligible for
     chapter 13 only if your debts are not more than certain                                         certain debts for acts that caused death or
     dollar amounts set forth in 11 U.S.C. § 109.                                                    personal injury, and

                                                                                                     certain long-term secured debts.



    Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                           page 3

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                                                                                              A married couple may file a bankruptcy case
                   Warning: File Your Forms on Time                                           together—called a joint case. If you file a joint case and
                                                                                              each spouse lists the same mailing address on the
     Section 521(a)(1) of the Bankruptcy Code requires that                                   bankruptcy petition, the bankruptcy court generally will
     you promptly file detailed information about your                                        mail you and your spouse one copy of each notice,
     creditors, assets, liabilities, income, expenses and                                     unless you file a statement with the court asking that
     general financial condition. The court may dismiss your                                  each spouse receive separate copies.
     bankruptcy case if you do not file this information within
     the deadlines set by the Bankruptcy Code, the                                            Understand which services you could receive from
     Bankruptcy Rules, and the local rules of the court.                                      credit counseling agencies

     For more information about the documents and                                             The law generally requires that you receive a credit
     their deadlines, go to:                                                                  counseling briefing from an approved credit counseling
     http://www.uscourts.gov/forms/bankruptcy-forms                                           agency. 11 U.S.C. § 109(h). If you are filing a joint
                                                                                              case, both spouses must receive the briefing. With
                                                                                              limited exceptions, you must receive it within the 180
     Bankruptcy crimes have serious consequences                                              days before you file your bankruptcy petition. This
                                                                                              briefing is usually conducted by telephone or on the
            If you knowingly and fraudulently conceal assets                                  Internet.
            or make a false oath or statement under penalty of
            perjury—either orally or in writing—in connection                                 In addition, after filing a bankruptcy case, you generally
            with a bankruptcy case, you may be fined,                                         must complete a financial management instructional
            imprisoned, or both.                                                              course before you can receive a discharge. If you are
                                                                                              filing a joint case, both spouses must complete the
            All information you supply in connection with a                                   course.
            bankruptcy case is subject to examination by the
            Attorney General acting through the Office of the                                 You can obtain the list of agencies approved to provide
            U.S. Trustee, the Office of the U.S. Attorney, and                                both the briefing and the instructional course from:
            other offices and employees of the U.S.                                           http://www.uscourts.gov/services-forms/bankruptcy/cre
            Department of Justice.                                                            dit-counseling-and-debtor-education-courses.

     Make sure the court has your mailing address                                             In Alabama and North Carolina, go to:
                                                                                              http://www.uscourts.gov/services-forms/bankruptcy/cre
     The bankruptcy court sends notices to the mailing                                        dit-counseling-and-debtor-education-courses.
     address you list on Voluntary Petition for Individuals
     Filing for Bankruptcy (Official Form 101). To ensure                                     If you do not have access to a computer, the clerk of
     that you receive information about your case,                                            the bankruptcy court may be able to help you obtain
     Bankruptcy Rule 4002 requires that you notify the court                                  the list.
     of any changes in your address.




    Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                           page 4

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                                                                         United States Bankruptcy Court
                                                                               District of Columbia
      In re      Aimee Lewis Golub                                                                        Case No.
                                                                                       Debtor(s)          Chapter      7


                                                         LIST OF CREDITORS AND MAILING MATRIX


                              1.            The attached list, serving both as the list required by Rule 1007(a)(1)

                              of the Federal Rules of Bankruptcy Procedure and as the mailing matrix

                              required by the court's local Bankruptcy Rules, consists of                     3      pages and

                              a total of            21       entities listed.


                              2.            The attached list contains a true and correct name and address of:

                                                 each of my creditors (those entities required to be scheduled on

                                                  Schedules D, E, and F, the Schedules of Creditors Holding

                                                  Claims, in this case),


                                                 each of the parties required to be listed on Schedule G -

                                                  Executory Contracts and Unexpired Leases, that is, the parties

                                                  other than myself, to any unexpired lease of real or personal

                                                  property to which I am a party;




                                                                                     1 of 2
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                                                 each entity required to be listed on Schedule H - Codebtors (any

                                                  entity, other than my spouse in a joint case, that is also liable on

                                                  any debts owed to any of my listed creditors, including all

                                                  guarantors and co-signers).


    I declare under penalty of perjury that the foregoing is true and correct.
               10/24/2022
     Date:
                                                                             Aimee Lewis Golub
                                                                             Signature of Debtor




                                                                                     2 of 2
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                                                American Express
                                                P.O. Box 981537
                                                El Paso, TX 79998


                                                Barclays Bank
                                                P.O. Box 8803
                                                Wilmington, DE 19899


                                                Cleveland Clinic
                                                9500 Euclid Avenue
                                                Cleveland, OH 44195


                                                Comenity Bank
                                                P.O. Box 182789
                                                Columbus, OH 43218


                                                Cross River Bank
                                                885 Teaneck Road
                                                Teaneck, NJ 07666


                                                Discover Bank
                                                Attn: Bankruptcy
                                                P.O. Box 3025
                                                New Albany, OH 43054


                                                Eye Doctors of Washington
                                                2 Wisconsin Circle Suite 230
                                                Chevy Chase, MD 20815


                                                Fidelity Investments
                                                PO Box 770001
                                                Cincinnati, OH 45277


                                                Firstmark Services LLC
                                                121 South13th Street
                                                Lincoln, NE 68508
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                                                FMR LLC d/b/a Fidelity
                                                P.O. Box 6376
                                                Fargo, ND 58125


                                                Goldman Sachs Bank
                                                P.O. Box 70379
                                                Philadelphia, PA 19176


                                                Happy Money Inc.
                                                21515 Hawthorne Boulevard
                                                Torrance, CA 90503


                                                JPMorgan Chase Bank
                                                Attn: Bankruptcy
                                                P.O. Box 15298
                                                Wilmington, DE 19850


                                                Kaiser Permanente
                                                1950 Franklin Street
                                                Oakland, CA 94612


                                                Midwest Medical Systems
                                                655 Congress Park Drive
                                                Dayton, OH 45459


                                                Mill Creek Residential Trust LLC
                                                1331 4th Street SE
                                                Washington, DC 20003


                                                Navient Solutions, LLC
                                                P.O. Box 9655
                                                Wilkes Barre, PA 18773


                                                One Medical NY with Mt. Sinai
                                                P.O. Box 102259
                                                Pasadena, CA 91189
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                                                Payoff, Inc.
                                                Attn: Bankruptcy
                                                1700 Flight Way
                                                Tustin, CA 92782


                                                Synchrony Bank
                                                Attn: Bankruptcy Dept.
                                                P.O. Box 965060
                                                Orlando, FL 32896


                                                Verizon
                                                P.O. Box 489
                                                Newark, NJ 07101
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                                               Certificate Number: 15557-DC-CC-036925272


                                                             15557-DC-CC-036925272




                    CERTIFICATE OF COUNSELING

I CERTIFY that on October 24, 2022, at 3:47 o'clock PM EDT, Aimee Golub
received from Urgent Credit Counseling, Inc., an agency approved pursuant to 11
U.S.C. 111 to provide credit counseling in the District of Columbia, an individual
[or group] briefing that complied with the provisions of 11 U.S.C. 109(h) and
111.
A debt repayment plan was not prepared. If a debt repayment plan was prepared, a
copy of the debt repayment plan is attached to this certificate.
This counseling session was conducted by internet.




Date:   October 24, 2022                       By:      /s/Ann Omiti


                                               Name: Ann Omiti


                                               Title:   Counselor




* Individuals who wish to file a bankruptcy case under title 11 of the United States Bankruptcy
Code are required to file with the United States Bankruptcy Court a completed certificate of
counseling from the nonprofit budget and credit counseling agency that provided the individual
the counseling services and a copy of the debt repayment plan, if any, developed through the
credit counseling agency. See 11 U.S.C. 109(h) and 521(b).
